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               13
                                                UNITED STATES DISTRICT COURT
               14                             NORTHERN DISTRICT OF CALIFORNIA
                                                      SAN JOSE DIVISION
               15

               16      CONCORD MUSIC GROUP, INC., ET AL.               Case No. 5:24-cv-03811-EKL
               17                        Plaintiffs,                   DEFENDANT ANTHROPIC PBC’S
                                                                       OPPOSITION TO PLAINTIFFS’
               18             vs.                                      RENEWED MOTION FOR
                                                                       PRELIMINARY INJUNCTION
               19      ANTHROPIC PBC,
                                                                       Hon. Eumi K. Lee
               20                        Defendant.
                                                                       Hearing Date: TBD
               21                                                      Time: TBD
                                                                       Courtroom: 7, 4th Floor
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                   1                                           INTRODUCTION

                   2          In their Renewed Motion for a Preliminary Injunction (“Mot.,” Dkt. 179), Plaintiffs seek

                   3   an order condemning one of the leading tools of generative artificial intelligence as unlawful. It

                   4   is not. But the Court need not reach that issue to deny the relief sought, because Plaintiffs’ claims

                   5   of irreparable harm are untimely and unlikely on their face. After months of delay in seeking

                   6   relief, Plaintiffs now effectively concede the precautions Anthropic implemented in response to

                   7   their concerns work, making any claimed injury purely speculative. Plaintiffs will have ample

                   8   opportunity after the close of discovery, only seven months away under Plaintiffs’ proposed

                   9   extension, to test their substantive legal theories, and Anthropic will demonstrate on a complete

               10      record why their attack on this new category of digital tools misconceives both the technology

               11      and the law. At this stage, the Court should simply find that reaching those substantive issues is

               12      unnecessary to deny the motion, which comes nearly a year after Plaintiffs filed this action.

               13             Plaintiffs originally moved for a preliminary injunction nine months ago. Dkt. 40. Even

               14      then, their request was delayed: they learned of the alleged infringement at least five months

               15      earlier, when they allegedly prompted Anthropic’s generative AI tool to regurgitate their song

               16      lyrics in June 2023. See Decl. of Brittany Lovejoy (“Lovejoy Decl.”) Ex. B at 5–6 (also

               17      admitting they prompted allegedly infringing outputs in July, August, and September 2023).

               18      Instead of promptly notifying Anthropic of these outputs, Plaintiffs chose to sit on their claims

               19      until October, when they filed this lawsuit in Tennessee—“a strategic decision” that risked delay

               20      rather than “play[ing] it safe by filing in a forum that clearly has personal jurisdiction.” Dkt. 123

               21      at 23–24 (citation omitted). The delay caused by Plaintiffs’ failed attempt at litigation

               22      gamesmanship is entirely of their own making, and by itself warrants denying their motion.

               23             On the merits, Plaintiffs effectively seek two different injunctions for two separate

               24      allegations of infringement. The Court should deny both.

               25             First, Plaintiffs seek relief from Anthropic’s alleged use of their songs as an

               26      infinitesimally small fraction of the trillions of tokens used to train the “large language model,”

               27      or “LLM,” underlying its generative AI service. That same substantive issue—whether

               28      generative AI companies can permissibly use copyrighted content to train LLMs without

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                   1   licenses—is currently being litigated in roughly two dozen copyright infringement cases around

                   2   the country, none of which has sought to resolve the issue in the truncated posture of a

                   3   preliminary injunction motion. It speaks volumes that no other plaintiff—including the parent

                   4   company record label of one of the Plaintiffs in this case—has sought preliminary injunctive

                   5   relief from this conduct. See UMG Recs. v. Suno, Inc., 1:24-cv-11611 (D. Mass.); UMG Recs. v.

                   6   Unchartered Labs, Inc., 1:24-cv-04777 (S.D.N.Y.). While Anthropic is confident that using

                   7   copyrighted content as training data for an LLM is a fair use under the law—meaning that it is

                   8   not infringement at all—there is no basis to conclude that money damages would not make

                   9   Plaintiffs whole if they ultimately prevailed on the merits. The Court, accordingly, should not

               10      stretch on this underdeveloped record to get ahead of the other cases where the analogous

               11      substantive copyright issue will be adjudicated on a full summary judgment or trial record. Cf.

               12      Thomson Reuters Enter. Ctr. GmbH v. Ross Intel., Inc., 694 F. Supp. 3d 467, 476–487 (D. Del.

               13      Sept. 25, 2023) (addressing the issue on summary judgment and denying cross motions). That

               14      said, if the Court does choose to grapple with the issue, it should conclude there is no likelihood

               15      of success on the merits of this novel claim, which no other court has endorsed to date.

               16             Second, Plaintiffs seek injunctive relief based on their alleged use of Anthropic’s

               17      generative AI tool to elicit some of their own copyrighted song lyrics. As a threshold matter,

               18      Anthropic’s tool is not designed to output copyrighted material, and Anthropic has always had

               19      guardrails in place aimed at preventing this result. If those measures failed in some instances

               20      many months ago, that would have been a “bug,” not a “feature,” of the product. But here again,

               21      events have overtaken Plaintiffs’ motion. In its current iteration, Plaintiffs effectively concede

               22      that additional guardrails Anthropic has implemented are effective at preventing what Plaintiffs

               23      supposedly did in the past. As the Motion itself says, Plaintiffs “take Anthropic at its word” that

               24      those guardrails work, even as Plaintiffs continue to refuse in discovery to disclose any

               25      information about failed attempts to pierce those, and prior, guardrails. This relief Plaintiffs

               26      seek—an order preventing Anthropic’s tool from outputting those lyrics in response to future

               27      users’ queries—is thus moot, and Plaintiffs cannot show any ongoing or future harm they will

               28      suffer (let alone “irreparable” harm) between now and trial absent that relief.

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                   1           Ultimately, the Court need not reach the merits of Plaintiffs’ dual infringement theories

                   2   to deny them the preliminary injunction they seek, because Plaintiffs have failed to establish they

                   3   would suffer irreparable harm between now and trial in the absence of such extraordinary relief.

                   4   Each of the other three preliminary injunction factors likewise points in Anthropic’s favor.

                   5   Respectfully, the Court should deny this Motion.

                   6                                           BACKGROUND

                   7              A. Claude is a general-purpose AI assistant, not a lyrics database.

                   8          Anthropic is an AI safety and research company headquartered in San Francisco that

                   9   aims to create reliable, beneficial AI systems. Decl. of Jared Kaplan (“Kaplan Decl.”) ¶ 7; Decl.

               10      of Brittany N. Lovejoy (“Lovejoy Decl.”) Ex. C. Anthropic’s mission is to ensure transformative

               11      AI helps people and society flourish by building frontier systems, studying their behaviors,

               12      working to responsibly deploy them, and regularly sharing safety insights. Lovejoy Decl. Ex. D.

               13      Anthropic’s signature product is a series of AI models called Claude. Kaplan Decl. ¶ 8; Lovejoy

               14      Decl. Ex. E. Users can submit various forms of queries known as “prompts” to Claude, and

               15      Claude in turn answers or otherwise responds. After forming in early 2021, Anthropic released

               16      Claude to certain business users in late 2022 and released Claude 2 in July of last year. Kaplan

               17      Decl. ¶ 8. Since this lawsuit’s filing, Anthropic released the Claude 3 model family (Haiku,

               18      Sonnet, and Opus) in March 2024, and Claude 3.5 Sonnet at the end of June 2024. Id.

               19             A generative AI model like Claude is designed and intended to respond as an intelligent

               20      human would to a vast array of user prompts. In practice, businesses use Claude to develop

               21      online tutoring programs, evaluate proposed contracts, facilitate productivity and product

               22      management improvements, and more. Id. ¶ 13. Typical individual users, meanwhile, rely on

               23      Claude to assist with original writing projects, such as editing, rewriting, and summarizing;

               24      brainstorming and problem solving; and drafting professional emails. Id. ¶ 12. They also use

               25      Claude to help them develop their own creative outputs. Id. ¶¶ 10–12, 14.

               26             Typical Anthropic users do not request song lyrics from Claude. See id. ¶¶ 15–16. There

               27      would be no reason to: song lyrics are available from a slew of freely accessible websites.

               28      Compl. ¶¶ 46, 60; Declaration of Dawn Hall (“Hall Decl.”) ¶ 41.

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                   1              B. Claude learns the patterns of language from trillions of tiny textual data
                                     points.
                   2

                   3          AI models like Claude are built from a technological tool known as a “neural network”—
                   4   a computer program inspired by the human brain, capable of studying enormous sets of data to
                   5   identify and extract statistical patterns in data. Kaplan Decl. ¶ 17. The process of training a text-
                   6   based LLM like Claude starts by showing the underlying software engine many, many examples
                   7   of pre-existing text, so it can learn language patterns and the typical relationships between words
                   8   and phrases. Id. ¶¶ 17–21. The ultimate goal is “to develop a probabilistic but comprehensive
                   9   map of how language works.” Id. ¶ 20. More precisely, AI models like Claude ingest hundreds of
               10      millions, if not billions, of pieces of textual content, which they break down into trillions of
               11      component parts known as “tokens.” Id. ¶¶ 18–19, 22. The models then analyze the “tokens to
               12      discern statistical correlations—often at staggeringly large scales—among features of the content
               13      on which the model is being trained.” Lovejoy Decl. Ex. F at 159. Those statistical correlations
               14      effectively yield “insights about patterns of connections among concepts or how works of [a
               15      particular] kind are constructed.” Id. Based on those insights, AI models like Claude are able to
               16      create new, original outputs with a degree of sophistication and verisimilitude that approximates
               17      human capabilities. Kaplan Decl. ¶¶ 5–6.
               18             The texts from which the                     of tokens used to train Anthropic’s newest
               19      model (Claude 3.5 Sonnet) were derived came from a combination of publicly available
               20      information from the Internet, as well as non-public data from third parties, data provided by
               21      data labeling services and paid contractors, and data Anthropic generates internally. Id. ¶¶ 28–29
               22      & Ex. C at 3. Anthropic uses data generated internally and non-public data from third parties to
               23      supplement, rather than replace, publicly available information on the Internet because
               24      optimizing Claude’s performance requires the use of increasing amounts of data. Id. ¶¶ 28–30.
               25      That is to say that the essential characteristic of this “training corpus,” as the datasets used to
               26      train generative AI models are known, is its scale. It would not be possible to create a product
               27      like Claude without many trillions of tokens of pre-existing text. Id. ¶¶ 22, 25–26.
               28

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                   1          In addition to the sheer volume of tokens, LLMs like Claude require diversity among the

                   2   types of tokens they are trained on. Id. ¶¶ 23–25. These are, after all, general purpose tools,

                   3   which will have no familiarity with any genre of content they have not encountered. For the

                   4   model to be able to respond sensibly to queries about rap music, or cheesecake recipes, or

                   5   physics equations, it must have been shown examples of texts that approximate those concepts.

                   6   But critically, the purpose of including instances of those genres in the training dataset is not to

                   7   ultimately replicate the particular way any original author expressed the idea embodied in the

                   8   text—which is what copyright law protects. It is to expose the model to the full range of types of

                   9   texts that exist, encompassing as broad an array of facts as possible, so that the model can

               10      synthesize the information embodied in the texts into new and different outputs. Id.; see also

               11      Declaration of Ben Y. Zhao (“Zhao Decl.”), Dkt. 181 ¶ 44 (recognizing that training on

               12      Plaintiffs’ lyrics “enables Claude’s generation of outputs generally by adding to its overall

               13      lexicon as part of the larger training dataset”).

               14             In service of achieving that goal, Claude does not use its training texts as a database from

               15      which pre-existing outputs are selected in response to user prompts. Instead, it uses the statistical

               16      correlations gleaned from analyzing texts to construct a model of how language operates and

               17      what it means. Kaplan Decl. ¶¶ 19–21, 36. The model represents those correlations in a series of

               18      numerical parameters (sometimes called “weights” and “biases”) that enable software to generate

               19      responses to requests from end users. Id. ¶¶ 20–21. Those parameters are what the model

               20      stores—not the texts of the training data. Id. ¶ 36.

               21

               22             Id. ¶¶ 60–61.

               23                                                                   Id. ¶ 60.

               24                                                                                          Id.

               25                                                                               , without incurring

               26      immense and incalculable harm not just to Anthropic, but also to the users who will benefit from

               27      the innumerable legitimate uses of this revolutionary next-generation tool. Id. ¶ 61.

               28

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                   1              C. Given the volume of data required, some copyrighted works may be used in
                                     training Claude.
                   2

                   3          In training Claude, Anthropic does not seek out song lyrics in particular and does not
                   4   deliberately assign any greater weight to them than to any other text collected from the web. Id.
                   5   ¶¶ 31–33. But like other generative AI platforms, Anthropic does use data broadly assembled
                   6   from the publicly available Internet, including through datasets compiled by third party non-
                   7   profits for the research community. In practice, there is no other way to amass a training corpus
                   8   with the scale and diversity necessary to train a complex LLM with a broad understanding of
                   9   human language and the world in general. Id. ¶ 26; Decl. of Dr. Steven Peterson (“Peterson
               10      Decl.”) ¶¶ 25–26. Any inclusion of Plaintiffs’ song lyrics—or other content reflected in those
               11      datasets—would simply be a byproduct of the only viable approach to solving that technical
               12      challenge. See Kaplan Decl. ¶¶ 23–25, 31. All told, song lyrics constitute a minuscule fraction of
               13      Claude’s training data, and the 500 works-in-suit constitute a minuscule fraction of that
               14      minuscule fraction. See Zhao Decl. ¶ 43 (conceding that “song lyrics will naturally be a small
               15      portion of the overall dataset in an LLM model”).
               16             It would not be possible for a generative AI platform like Anthropic to amass sufficient
               17      content to train an LLM like Claude in arm’s-length licensing transactions, at any price. Peterson
               18      Decl. ¶¶ 18–26. The scale of the datasets required is far too large. Id. ¶¶ 23–25. One could not
               19      enter licensing transactions with enough rights owners to cover the billions of texts necessary to
               20      yield the trillions of tokens that general-purpose LLMs require. See id. ¶¶ 25–26. If licenses were
               21      required to train LLMs on publicly available copyrighted content, today’s general-purpose AI
               22      tools simply could not exist. Id. ¶ 10.
               23
                                  D. Anthropic works hard to prevent Claude from outputting undesired
               24                    responses, including copyrighted content.

               25             Just because certain content was part of Claude’s training dataset does not, however,
               26      mean that an end user can access it. Claude is, after all, a generative AI system. It is designed to
               27      generate novel content, not simply regurgitate verbatim the texts from which it learned language.
               28      Kaplan Decl. ¶¶ 5–6, 15. Anthropic did not design Claude to regurgitate copyrighted content,

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                   1   including song lyrics, and has never intended for it to do so. Id. ¶¶ 15, 21, 36, 48–52. Since

                   2   Anthropic first launched a commercial product, it has incorporated guardrails to militate against

                   3   such behavior. Id. ¶ 52.

                   4          Plaintiffs mistakenly argue that Anthropic must have designed Claude to provide outputs

                   5   containing their song lyrics because “Anthropic repeatedly encouraged Claude to produce

                   6   verbatim song lyrics and unauthorized derivatives of lyrics” during the training process. Mot. 5.

                   7   Plaintiffs misunderstand how Claude is trained. After first learning statistical relationships about

                   8   language, Claude is then “fine-tuned” to adhere to a set of principles—a Constitution—that

                   9   governs its behavior and helps it evaluate its own outputs during training. Kaplan Decl. ¶ 38. In

               10      this fine-tuning process, Claude is trained to be both helpful and harmless: “helpful” in that it

               11      will provide responsive, contextually appropriate answers to users’ questions, and “harmless” in

               12      that it will resist doing or saying things that people would find harmful or dangerous. Id. ¶ 39.

               13      Both types of fine-tuning are necessary to teach Claude to “behave helpfully when appropriate,

               14      while encouraging the polite refusal of harmful requests.” Kaplan Decl. Ex. G at 5. The research

               15      data Plaintiffs rely on preceded the commercial release of Claude by nearly a year and focused

               16      on only the “helpfulness” side of the process.1 In this part of the fine-tuning process, Anthropic

               17      paid crowdworkers to test the model’s helpfulness, without providing any specific guidance over

               18      the specific prompts used by the crowdworkers as part of their testing. Kaplan Decl. ¶ 44.

               19             But, of course, all of Anthropic’s consumer-facing models have also undergone

               20      “harmlessness” fine-tuning based on Claude’s Constitution, so that they can recognize when

               21      otherwise helpful outputs are nevertheless inappropriate. Kaplan Decl. ¶¶ 39–46. Put another

               22      way, Claude has to be trained to understand and respond to a variety of requests so that it can

               23      sort out which requests may be seeking harmful outputs. Id. ¶ 41.

               24

               25
                       1
                         Plaintiffs provided excerpts from the dataset in Exhibit J to the Declaration of Timothy Chung
               26      (“Chung Decl.”), Dkt. 180, but they failed to provide a copy of the webpage from which they
                       took this data or the research paper to which the data are connected. See Kaplan Decl., Ex. H
               27      (webpage); Ex. G (April 2022 research paper). That webpage clearly specifies that the prompt
                       data used in the study “are not meant for supervised training” of consumer-facing AI agents and
               28      that training a conversational AI on these data alone “is likely to lead to harmful models and
                       should be avoided.” Kaplan Decl. ¶ 43 & Ex. H.
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                   1          Anthropic has also implemented a broad array of safeguards to prevent reproduction of

                   2   copyrighted works from occurring in Claude outputs. These are described in detail in the Kaplan

                   3   Declaration at ¶¶ 47–51.

                   4

                   5                                  Kaplan Decl. ¶ 49.

                   6

                   7

                   8                                        Id. ¶¶ 49–51. These guardrails are effective, id. ¶¶ 52–59,

                   9   and will remain in place in some form indefinitely. See id. ¶ 60. Plaintiffs have pointed to no

               10      evidence that purportedly infringing outputs are possible with Anthropic’s current guardrails in

               11      place, instead relying on prompts and outputs that are at least six months old. See Mot. 5–6

               12      (citing to the declarations of Dan Seymour and Dr. Robert Leonard from November 2023 to

               13      support their contention that outputs containing their lyrics are possible); Zhao Decl. ¶ 58

               14      (identifying certain outputs from February). With the current guardrails in place, it is far less

               15      likely that an ordinary Claude user could replicate what Plaintiffs did to engineer the facts on

               16      which this lawsuit is based. See Kaplan Decl. ¶ 56.

               17                 E. Plaintiffs seek extraordinary and unwarranted injunctive relief.

               18             Even before Plaintiffs filed their original preliminary injunction motion in November

               19      2023, Anthropic told them that it was working to build additional guardrails and offered to

               20      cooperate to create further guardrails covering not just the 500 works-in-suit, but also any other

               21      text that Plaintiffs claimed to own and could provide to Anthropic. Plaintiffs first responded that

               22      it would be difficult to exhaustively document that broader set because it is “constantly being

               23      updated,” and then directed Anthropic to a publicly available list of song titles—not lyrics—to

               24      which they purport to control the rights. Lovejoy Decl. Ex. A at 4. Subsequent correspondence

               25      was not constructive. See id. Anthropic has since developed additional guardrails without the

               26      assistance of Plaintiffs, which have been in place for over six months. Kaplan Decl. ¶¶ 54–57.

               27             Today, Plaintiffs concede that those guardrails are effective. See Mot. 29; Lovejoy Decl.

               28      Ex. B at 7 (RFA No. 9). Nonetheless, they filed a renewed preliminary injunction, over a year

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                   1   after first discovering the allegedly infringing outputs, seeking to “maintain” those guardrails.

                   2   See Mot. 2; Dkt. 179-1 (proposed order). They also seek an injunction preventing Anthropic

                   3   from training on their lyrics between now and trial. Id. But despite having over eight months

                   4   since their initial motion, they offer no new evidence of allegedly infringing outputs and fail to

                   5   identify any examples of harm that has befallen them since they filed this suit last October. Yet

                   6   they ask this Court to believe that they will be irreparably harmed between now and trial, little

                   7   more than a year from now, without an injunction.

                   8          Their renewed motion, like their original motion, seeks judicial relief not just with

                   9   respect to the copyrighted works at issue in the case, but also with respect to that same

               10      “constantly” changing set of millions of other songs and underlying lyrics, for which Plaintiffs

               11      have not pleaded even a prima facie claim of copyright infringement. See Lovejoy Decl. Ex. A at

               12      4; Compl. ¶¶ 111–18; Dkt. 179-1 at 3. Evidently with respect to that broader, ever-shifting

               13      category of works, the Motion asks for both the output-restricting injunction referenced above

               14      and an injunction requiring the removal of the song lyrics from training datasets for unreleased

               15      models. See Mot. 2. Doing so would require Anthropic

               16                                                                                           , incurring

               17      approximately $              in additional costs and incalculably harming Anthropic in the

               18      broader marketplace

               19                                                               . Kaplan Decl. ¶ 61.

               20             After waiting at least four months before notifying Anthropic by filing this lawsuit, five

               21      months before filing their original motion, and over a year before renewing their motion in the

               22      proper forum, Plaintiffs now seek this extraordinary relief to prevent the distribution or display

               23      of works that they and their amici admit are routinely the subject of licensing transactions with

               24      knowable prices. See, e.g., Dkt. 193-1 (Amici Br.) at 6–7. And yet: Plaintiffs simultaneously

               25      contend that money could not compensate them in the event they prevail on their infringement

               26      claims. Mot. 23–28. Plaintiffs’ dilatory motion vastly overreaches and should be denied.

               27

               28

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                   1                                           LEGAL STANDARD

                   2           “A preliminary injunction is an extraordinary remedy never awarded as of right.”

                   3   Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1132 (9th Cir. 2011) (quoting Winter v.

                   4   Natural Resources Defense Council, 555 U.S. 7, 24 (2008)). The party seeking the injunction

                   5   bears the burden of proving that it is entitled to one. Klein v. City of San Clemente, 584 F.3d

                   6   1196, 1201 (9th Cir. 2009). Plaintiffs must establish “(1) that they are likely to succeed on the

                   7   merits, (2) that they are likely to suffer irreparable harm in the absence of preliminary relief, (3)

                   8   that the balance of equities tips in their favor, and (4) that an injunction is in the public interest.”

                   9   N.D. v. Reykdal, 102 F.4th 982, 991–92 (9th Cir. 2024) (internal quotation marks omitted and

               10      alterations adopted).2 Where a preliminary injunction “goes well beyond simply maintaining the

               11      status quo” by requiring the defendant affirmatively to take action, it is considered a “mandatory

               12      injunction” and “is particularly disfavored.” Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir.

               13      2015) (requesting the removal of content from an online platform calls for a “mandatory”

               14      injunction). Mandatory injunctions “place a higher burden on the plaintiff to show the facts and

               15      law clearly favor the moving party.” Fellowship of Christian Athletes v. San Jose Unified Sch.

               16      Dist. Bd. of Educ., 82 F.4th 664, 684 (9th Cir. 2023) (internal quotation marks omitted).

               17                                                  ARGUMENT

               18      I.      This Court Should Deny Plaintiffs’ Request for Extraordinary Relief

               19              A.      Plaintiffs cannot show irreparable harm absent injunctive relief

               20              Plaintiffs’ preliminary injunction request fails, first and foremost, because Plaintiffs

               21      cannot show they are likely to suffer irreparable harm from any alleged infringement between

               22      now and trial, whether as a result of Claude’s outputs or of any use of Plaintiffs’ lyrics in

               23      Claude’s training data. The Ninth Circuit requires Plaintiffs to demonstrate irreparable harm as a

               24      “prerequisite for injunctive relief.” Flexible Lifeline Sys., Inc. v. Precision Lift, Inc., 654 F.3d

               25
                       2
               26        Plaintiffs suggest that the Ninth Circuit employs a “sliding scale” approach when evaluating
                       these four factors. Mot. 8–9 (citing Cottrell, 632 F.3d at 1131). But Cottrell held that the sliding
               27      scale approach remained viable only where there are “serious questions going to the merits”—
                       and even then, a preliminary injunction will not issue unless the movant also demonstrates “a
               28      balance of hardships that tips sharply towards the plaintiff,” “a likelihood of irreparable injury,”
                       and that the injunction is in the public interest.” Cottrell, 632 F.3d at 1135.
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                   1   989, 998 (9th Cir. 2011). They “must establish that irreparable harm is likely, not just possible, in

                   2   order to obtain a preliminary injunction.” Cottrell, 632 F.3d at 1131 (citing Winter, 555 U.S. at

                   3   22) (emphasis in original). To show that irreparable injury is likely, Plaintiffs must “do more

                   4   than merely allege imminent harm”—they “must demonstrate immediate threatened injury[.]”

                   5   Boardman v. Pac. Seafood Grp., 822 F.3d 1011, 1022 (9th Cir. 2016) (emphasis in original).

                   6   Assertions of remote and speculative injury will not suffice. See In re Excel Innovations, Inc.,

                   7   502 F.3d 1086, 1098 (9th Cir. 2007).

                   8          Plaintiffs cannot meet their burden to show a likelihood of irreparable harm between now

                   9   and trial absent injunctive relief, for several independent reasons.

               10
                                      1.      There is no reasonable expectation that the complained-of activity is
               11                             likely to recur.

               12             Injunctive relief, by its nature, “looks to the future”: it can only be awarded where the

               13      challenged conduct is likely to cause immediate injury going forward. 11A Wright & Miller Fed.

               14      Prac. & Proc. § 2942 (3d ed. 2019). Plaintiffs cannot show prospective irreparable harm where

               15      there is no “reasonable expectation” of the challenged conduct occurring again. Id.; see Brach v.

               16      Newsom, 38 F.4th 6, 15 (9th Cir. 2022) (explaining that “[r]easonable expectation means

               17      something more than a mere physical or theoretical possibility” (internal quotation marks

               18      omitted)). That is fatal to Plaintiffs’ request for an injunction based on the alleged harm from

               19      Claude’s outputs, for two reasons.

               20             First, the record contains no evidence whatsoever that the latest versions of Claude have

               21      ever produced copies of Plaintiffs’ works. Since Plaintiffs filed their original preliminary

               22      injunction motion, Anthropic has built heightened safeguards specifically designed to prevent

               23      display of Plaintiffs’ works-in-suit. Kaplan Decl. ¶¶ 54–57; see also supra at 8–9.

               24

               25                                                                    . Kaplan Decl. ¶ 56.

               26                                                                                                 . See id.

               27      Plaintiffs effectively concede the efficacy of these guardrails. See Mot. 29; Zhao Decl. ¶ 59.

               28

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                   1          As a result, nothing in the record shows that Claude’s outputs are currently infringing or

                   2   are likely to infringe Plaintiffs’ song lyrics going forward, much less cause the speculative

                   3   alleged irreparable harm Plaintiffs complain of. This eliminates the need for prospective

                   4   injunctive relief, because Plaintiffs have demonstrated no reasonable expectation of the

                   5   challenged conduct occurring in the future. See Monster Energy Co. v. Integrated Supply

                   6   Network, LLC, 2021 WL 2986355, at *2 (C.D. Cal. Mar. 10, 2021) (denying claim for equitable

                   7   relief where defendant had “taken significant steps to make clear that its allegedly wrongful

                   8   behavior ceased . . . and is unlikely to recur”); cf. City of Los Angeles v. Lyons, 461 U.S. 95, 105

                   9   (1983) (holding that the fact of a past wrong “does nothing to establish a real and immediate

               10      threat” of an otherwise improbable future wrong, and denying Article III standing to pursue such

               11      a claim). Plaintiffs’ argument that Anthropic’s improved guardrails might not prevent infringing

               12      outputs because guardrails are not “foolproof” (Zhao Decl. ¶¶ 62–65) is exactly the kind of

               13      “theoretical possibility” of recurring harm that fails to establish a need for injunctive relief.

               14      Brach, 38 F.4th at 14.

               15             Second, Plaintiffs cite no evidence that any Claude user—other than Plaintiffs

               16      themselves—has ever prompted Claude for outputs like the examples Plaintiffs ginned up for

               17      this lawsuit. Plaintiffs bemoan the harms they claim would come to them and their songwriters

               18      if, for example, a mashup of Sir Mix-A-Lot’s “Baby Got Back” and Elton John and Bernie

               19      Taupin’s “Candle in the Wind” containing the incongruous lyric “Goodbye, yellow brick butt,”

               20      or an “Atheist version” of a Christian rock anthem, were to proliferate on the Internet. Mot. 7;

               21      Decl. of Kenton Draughon (Dkt. 186) ¶ 24. But even if these purported harms constituted real,

               22      cognizable, irreparable injury to the publishers of these songs, it was Plaintiffs’ own agents who

               23      provoked Claude to generate the offending outputs and then published them for the world to see

               24      in their renewed motion. Plaintiffs have identified no record evidence to establish that users

               25      unaffiliated with them have ever caused Claude to reproduce their works-in-suit, much less a

               26      “reasonable expectation” that anyone will do so going forward. Brach, 38 F. 4th at 15. Indeed,

               27      preliminary discovery suggests even Plaintiffs had to work hard to coax older models to generate

               28      the allegedly infringing output—though just how hard is unknown, since Plaintiffs continue to

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                   1   resist disclosing any information about their failed attempts. Dkt. 67-5 (Lowd Decl.) ¶ 17; see

                   2   also Lovejoy Decl. Ex. B at 6 (RFAs 5–8); Id. Ex. G at 19. And that was all before Anthropic

                   3   implemented the heightened guardrails that Plaintiffs have not bothered to test. Zhao Decl. ¶ 59.

                   4
                                      2.      The alleged harms Plaintiffs identify are speculative and/or reparable
                   5                          by monetary damages.

                   6          Plaintiffs’ purported harms fall into two major categories: (i) harm to the lyrics’ monetary

                   7   value and licensing market, and (ii) reputational damage based on a “loss of control” over the

                   8   song lyrics. Neither supports the preliminary injunctive relief Plaintiffs seek.

                   9              a. Alleged harms to the value of Plaintiffs’ works and the licensing market

               10             Plaintiffs fail to establish irreparable harm by asserting that the alleged reproduction of

               11      their lyrics in Claude’s training data and outputs “lowers the market value of the lyrics, reduces

               12      demand for legitimate licenses for lyrics, and impedes Publishers’ negotiations with existing

               13      licensees.” Mot. 26. Any such harm is either speculative or compensable by money damages.

               14             In the first place, that argument lacks any evidentiary support. Hall Decl. ¶¶ 57–63.

               15      Plaintiffs rely exclusively on the declaration of their economic expert, Michael D. Smith, which

               16      cites no data, studies, financial reports, or quantitative information. See Decl. of Michael D.

               17      Smith (“Smith Decl.”), Dkt. 182 ¶¶ 26–31, 48–49. He does not assert that license fees for the use

               18      of Plaintiffs’ lyrics have decreased since Claude was introduced, or even in the year since

               19      Plaintiffs filed this lawsuit. And his conclusory assertion that Claude’s outputs will drive future

               20      licensing fees down is belied by the absence of evidence that anyone other than Plaintiffs has

               21      ever sought to coax Claude to extract Plaintiffs’ song lyrics—or that any meaningful

               22      circumvention of Anthropic’s latest guardrails will occur between now and trial in the absence of

               23      an injunction. Supra at 11–13. Professor Smith’s unsupported assumptions thus cannot establish

               24      the immediate irreparable harm necessary to justify an injunction. See American Passage Media

               25      Corp. v. Cass Comm’cns, Inc., 750 F.2d 1470, 1473 (9th Cir. 1985) (finding insufficient

               26      evidence of irreparable harm where supporting affidavits were “conclusory and without

               27      sufficient support in facts”); Herb Reed Enters., LLC v. Fla. Ent. Mgmt., Inc., 736 F.3d 1239,

               28

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                   1   1250 (9th Cir. 2013) (vacating preliminary injunction where “comb[ing] the record for support or

                   2   inferences of irreparable harm” failed to reveal any concrete evidence of harm).

                   3          Even if Plaintiffs could show Anthropic’s conduct between now and trial were likely to

                   4   harm their future licensing prospects, any such harm is not “irreparable” because it can be

                   5   remedied by money damages. See eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006);

                   6   Goldie’s Bookstore, Inc. v. Superior Court, 739 F.2d 466, 471 (9th Cir. 1984). Courts routinely

                   7   find that copyright plaintiffs alleging similar harms can be made whole through money damages.

                   8   E.g., ABKCO Music, Inc. v. Sagan, 50 F.4th 309, 322 (2d Cir. 2022) (denying injunctive relief

                   9   where music publishers alleged that infringing conduct “threaten[ed] [their] relationships with

               10      . . . existing licensees, and undermine[d] their negotiating leverage with prospective licensees,”

               11      because publishers could “be made whole with cash”). So too here. See Hall Decl. ¶¶ 24–37. By

               12      Plaintiffs’ own admission, “there is a well-established market” for licensing the right to display

               13      their lyrics to the public. Decl. of Duff Berschback (Dkt. 184) ¶ 12 (Concord); see also Decl. of

               14      Alisa Coleman (Dkt. 185) ¶¶ 10–12 (ABKCO); Decl. of David Kokakis (Dkt. 187) ¶¶ 10–12

               15      (UMPG). Because Plaintiffs routinely license the works at issue, any alleged harm to their ability

               16      to do so can be easily quantified. Hall Decl. ¶¶ 32–34. The parties can look to any appropriate

               17      “licensing agreements” that exist today as “a starting point or an aid in calculating damages” for

               18      Plaintiffs’ alleged harm. Fox Broad. Co. v. Dish Network LLC, 747 F.3d 1060, 1073 (9th Cir.

               19      2014); see Hall Decl. ¶¶ 17, 37. That is the definition of harm that is reparable.

               20                 b. Alleged reputational and goodwill-based harms

               21             Plaintiffs’ arguments as to other kinds of injuries fare no better. Hall Decl. ¶¶ 20, 62.

               22      Publishers contend generically that the inclusion of the asserted works in AI training datasets

               23      deprives both them and the original songwriters—who are neither the copyright owners nor

               24      plaintiffs in this lawsuit—of “control” over the “integrity” of their works, deprives them of

               25      “credit,” or harms their “goodwill” or “reputations.” Mot. 23–25. But they do not explain how

               26      the inclusion of their lyrics in an internal technological process invisible to the end user could

               27      have this effect. Nor do they offer any concrete evidence that Publishers have, in fact, been

               28      harmed in this way, more than a year after they first discovered the alleged infringement. The

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                   1   same is true with respect to outputs: Especially since the only allegedly infringing outputs were

                   2   generated by Plaintiffs themselves—and only before Anthropic implemented its most recent

                   3   guardrails—the Publishers cannot demonstrate that they have been or will be denied “credit and

                   4   goodwill” or that there is a legitimate risk of appreciable injury to their “reputations.” Id.

                   5           Plaintiffs’ claim that the alleged loss of “control” over the licensing and dissemination of

                   6   their works causes them irreparable harm is equally meritless. Mot. 23. The Ninth Circuit has

                   7   expressly rejected such a presumption of irreparable harm for run-of-the-mill infringement

                   8   claims. See Flexible Lifeline, 654 F.3d at 998.

                   9           Finally, insofar as Publishers allege that third-party songwriters’ reputations could be

               10      threatened by Claude outputs that are supposedly “inconsistent with and inimical to authorial

               11      intent” (Mot. 25), such alleged harms would not be cognizable as copyright harms even if the

               12      songwriters were plaintiffs here. U.S. copyright law generally does not recognize authors’

               13      “moral rights,” such as the right to “control the integrity of their works and to guard against

               14      distortion, manipulation, or misappropriation.” Garcia, 786 F.3d at 746. Those types of concerns

               15      are “untethered from—and incompatible with—copyright and copyright’s function as the engine

               16      of expression.” Id. at 745; cf. Fahmy v. Jay-Z, 908 F.3d 383, 390 (9th Cir. 2018) (denying

               17      plaintiff standing because “[n]o provision of the [Copyright] Act recognizes a moral right to

               18      prevent distortions or mutilations of copyrighted music”).

               19
                                       3.      Plaintiffs’ delay in pursuing preliminary relief belies their claims of
               20                              irreparable harm.

               21              Finally, Plaintiffs’ severe delay in coming to this Court for injunctive relief is

               22      incompatible with their claims of irreparable harm. “The best way for a plaintiff to avoid a delay

               23      in the consideration of a motion for TRO pending resolution of a serious challenge to personal

               24      jurisdiction is to play it safe by filing in a forum that clearly has personal jurisdiction.”

               25      Ncontracts LLC v. Holmberg, 2022 WL 17724148, at *10 n.16 (M.D. Tenn. Dec. 15, 2022).

               26      Plaintiffs waited months after discovering the allegedly infringing Claude outputs before they

               27      filed this lawsuit and, when they finally did file, they did so in Tennessee, a forum they knew

               28      lacked a clear connection to Anthropic or the conduct at issue and to which Anthropic objected.

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                   1   That choice led to further delay of Plaintiffs’ own making. See Dkt. 123 at 24 (explaining that

                   2   “Plaintiffs made a strategic decision” that “ran the risk of encountering a jurisdictional hurdle too

                   3   high to climb”). The upshot is that Plaintiffs are now ambling to this Court for allegedly “urgent”

                   4   injunctive relief more than a year after discovering the complained-of conduct.

                   5          The logical inference from Plaintiffs’ months-long delay is that they prioritized perceived

                   6   litigation advantage over taking the steps necessary to actually redress ostensibly imminent and

                   7   irreparable harm. See Oakland Tribune, Inc. v. Chronicle Pub. Co., Inc., 762 F.2d 1374, 1377

                   8   (9th Cir. 1985) (plaintiff’s delay in seeking relief could “impl[y] a lack of urgency and

                   9   irreparable harm”). But for Plaintiffs’ strategic decision to sit on their claims for months

               10      followed by their forum shopping, their motion could have been heard and fully decided a year

               11      ago. See Famous Birthdays, LLC v. SocialEdge, Inc., 2022 WL 1592726, at *4 (C.D. Cal. Feb.

               12      11, 2022) (5-month delay after investigating alleged infringement “warrant[ed] denial” of

               13      preliminary injunction motion); Garcia, 786 F.3d at 746 (delay of “months” between alleged

               14      infringement and preliminary injunction motion “undercut [plaintiff’s] claim of irreparable

               15      harm”); Ojmar US, LLC v. Sec. People, Inc., 2017 WL 2903143, at *3 (N.D. Cal. July 7, 2017)

               16      (no irreparable harm where plaintiff waited months before moving for preliminary relief); Int’l

               17      Medcom v. S.E. Int’l, Inc., 2015 WL 7753267, at *6 (N.D. Cal. Dec. 2, 2015) (12-month delay

               18      before pursuing preliminary injunction “strongly suggests the absence of imminent irreparable

               19      harm”). Plaintiffs’ delay in seeking relief belies any need to urgently grant it.

               20
                              B.      Plaintiffs cannot show a likelihood of success on the merits with respect to
               21                     either of their two theories of direct infringement

               22             Because Plaintiffs have failed to establish irreparable harm, a preliminary injunction

               23      cannot issue, and the Court need not consider the remaining factors. See Center for Food Safety

               24      v. Vilsack, 636 F.3d 1166, 1174 (9th Cir. 2011) (declining to address the remaining elements of

               25      the preliminary injunction standard because plaintiffs failed to show likelihood of irreparable

               26      harm); Swarmify, Inc. v. Cloudflare, Inc., 2018 WL 1142204, at *6 (N.D. Cal. Mar. 2, 2018)

               27      (concluding that “failure to show a likelihood of irreparable harm is a showstopper”); Ojmar,

               28      2017 WL 2903143, at *4 (same).

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                   1          All the same, Plaintiffs’ request for relief should be denied for the independent reason

                   2   that they cannot show they are likely to prevail on the merits of their two direct infringement

                   3   theories—that Anthropic infringed their works by including them in Claude’s training data, and

                   4   separately through certain Claude outputs.

                   5
                                      1.      Plaintiffs cannot show a likelihood of success on the merits with
                   6                          respect to their infringement claims concerning Claude’s training

                   7          Plaintiffs fail to clear the high bar establishing a likelihood of success in arguing that the

                   8   transformative use of copyrighted works to train groundbreaking generative AI products is

                   9   infringement, rather than a paradigmatic fair use.

               10             For context, this case is one among roughly two dozen other actions in which copyright

               11      holders have sued generative AI companies. See Dkt. 67 at 20 n.6 (collecting cases as of January

               12      2024). The central question in virtually all of these cases is whether an AI company’s unlicensed

               13      use of copyrighted material as inputs in a vast dataset (comprising billions of works) to train AI

               14      models is a “fair use” and thus not infringement. In none of those cases—including putative class

               15      actions purporting to represent Plaintiffs here and suits filed by corporate affiliates of

               16      Plaintiffs—has any of the dozens of plaintiffs even sought, much less won, a preliminary

               17      injunction. And no court has found a party likely to succeed on the merits of this hotly contested

               18      issue. Under these circumstances, the Court should not rush to resolve a significant, market-

               19      moving issue that cannot possibly be properly teed up in this posture—particularly where, as

               20      here, there is no plausible irreparable injury.

               21             Regardless, Plaintiffs’ training-based claims fail under copyright’s fair use doctrine. “For

               22      nearly three hundred years . . . courts have recognized that, in certain circumstances, giving

               23      authors absolute control over all copying from their works would tend in some circumstances to

               24      limit, rather than expand, public knowledge.” Authors Guild v. Google, Inc., 804 F.3d 202, 212

               25      (2d Cir. 2015). Fair use is the legal rule embodying that recognition. Id. Anthropic’s use of the

               26      works-in-suit to train an AI model, particularly one designed not to output the texts of those

               27      songs, is a classic fair use that does not constitute infringement of Plaintiffs’ copyrights. Relying

               28      on the fair use doctrine, courts have consistently found that making “intermediate” copies of

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                   1   copyrighted materials to develop new technologies does not violate copyright law. See Sega

                   2   Enters. Ltd. v. Accolade, Inc., 977 F.2d 1510, 1520–28 (9th Cir. 1992) (fair use to copy a

                   3   videogame in the service of creating a competing product); Sony Comput. Ent., Inc. v. Connectix

                   4   Corp., 203 F.3d 596, 602–09 (9th Cir. 2000) (fair use to create a digital “emulation” of

                   5   copyrighted video game operating system); Kelly v. Arriba Soft Corp., 336 F.3d 811, 817–22

                   6   (9th Cir. 2003) (fair use to copy essentially all images on the Internet to create an image search

                   7   tool); A.V. ex rel. Vanderhye v. iParadigms, LLC, 562 F.3d 630, 638–45 (4th Cir. 2009) (fair use

                   8   to copy student papers to create a plagiarism detection tool); Authors Guild, Inc. v. HathiTrust,

                   9   755 F.3d 87, 94–101 (2d Cir. 2014) (fair use to create a searchable database of millions of

               10      copyrighted books); Authors Guild, 804 F.3d at 212 (same); Google LLC v. Oracle Am., Inc.,

               11      593 U.S. 1, 26–40 (2021) (fair use to borrow copyrighted computer software to create a

               12      competing smartphone platform).

               13             The fair use analysis turns on four factors: “(1) the purpose and character of the use . . . ;

               14      (2) the nature of the copyrighted work; (3) the amount and substantiality of the portion used in

               15      relation to the copyrighted work as a whole; and (4) the effect of the use upon the potential

               16      market for or value of” the work. 17 U.S.C. § 107; see Campbell v. Acuff-Rose Music, Inc., 510

               17      U.S. 569, 577 (1994). Here, all factors support the conclusion that Anthropic’s training process

               18      “fulfill[s] the objective of copyright law to stimulate creativity for public illumination” and is a

               19      paradigmatic fair use. Oracle, 593 U.S. at 29 (citation omitted) (alteration in original)

               20
                              a. Factor One: Anthropic’s use of Plaintiffs’ lyrics to train Claude is a
               21                transformative use

               22             When a defendant uses copyrighted material in a way that is “transformative” because the

               23      challenged use adds “a further purpose or different character” than the original works, the first

               24      factor weighs heavily towards a fair use finding. Andy Warhol Found. for the Visual Arts, Inc. v.

               25      Goldsmith, 598 U.S. 508, 525 (2023). Innovative creations that “add[] something new” to the

               26      original works are transformative under this standard. Campbell, 510 U.S. at 579.

               27             Using Plaintiffs’ copyrighted song lyrics as part of a multi-trillion token dataset to train a

               28      generative AI model about the world and how language works is the very definition of

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                   1   “transformative” under the fair use doctrine. The lyrics are literally transformed, in that they are

                   2   broken down into small tokens used to derive statistical weights, rather than stored as intact

                   3   copies. Kaplan Decl. ¶¶ 19–20, 36. And the purpose of the use is transformative, in the sense that

                   4   Anthropic’s alleged use of the lyrics was not for the same end for which they were created. Cf.

                   5   Warhol, 598 U.S. at 526–35 (holding lack of transformativeness where original work and

                   6   challenged use “share substantially the same purpose” because “[b]oth are portraits of Prince

                   7   used in magazines to illustrate stories about Prince”). Instead, Anthropic’s alleged use was for an

                   8   entirely new end: creating a dataset to teach a neural network how human language works so that

                   9   it can generate an infinite number of language-based responses to human queries. See Zhao Decl.

               10      ¶ 44 (“[O]nce an LLM is trained on a given piece of content, it can then use that content for any

               11      purpose. . . . [Anthropic’s use of song lyrics] enables Claude’s generation of outputs generally by

               12      adding to its overall lexicon as part of the larger training dataset.””); cf. id. ¶ 23 (conceding that

               13      an LLM “may use the tokens representing song lyrics to generate lyrics, poetry, nonfiction

               14      essays, marketing materials, movie scripts, or anything else”).

               15              Plaintiffs offer a variety of arguments why using their content in these obviously new and

               16      different ways is not “transformative” under the first fair use factor, but none is sound. The

               17      suggestion that the purpose of training Claude is “to provide [Plaintiffs’] lyrics online, on

               18      demand,” is categorically false. Mot. 18. That is not Claude’s purpose, and Anthropic’s

               19      guardrails are designed to prevent such outputs. See supra at 2, 8–9. Anthropic has never

               20      intended Claude to be used as a means of regurgitating song lyrics available on the open Internet.

               21      See Kaplan Decl. ¶¶ 15, 45–48. The analogies to Napster and Grokster made by Plaintiffs’ amici,

               22      Amici Br. at 8–9, founder against this reality, since those cases involved products specifically

               23      designed to provide market substitutes for the plaintiffs’ works. Neither the alleged use of data in

               24      training of Claude, nor Claude itself, is a substitute for Plaintiffs’ lyrics.

               25              Plaintiffs are also wrong when they argue that a use cannot be transformative under the

               26      fair use doctrine if it involves copying without “comment[ing] on, criticiz[ing], or provid[ing]

               27

               28

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                   1   otherwise unavailable information about the original.” Mot. 19.3 Their position is incompatible

                   2   with the law. See also Splunk Inc. v. Cribl, Inc., 2024 WL 2701627, at *3 (N.D. Cal. May 24,

                   3   2024) (relying on Sega, 977 F.2d at 1522–23, to hold that defendant’s use of plaintiff’s code to

                   4   create its own software with “its own distinct purpose” was transformative); Lexmark Int’l, Inc.

                   5   v. Static Control Components, Inc., 387 F.3d 522, 544 (6th Cir. 2004) (allegedly infringing use

                   6   of computer code was fair because the final product, a computer chip, “use[d] the [work] for a

                   7   different purpose, one unrelated to copyright protection”); Ross, 694 F. Supp. 3d at 483–84

                   8   (explaining that “stud[ying] the language patterns” in Westlaw headnotes “to learn how to

                   9   produce judicial opinion quotes” as part of AI training would be transformative intermediate

               10      copying favoring fair use). Nor does the fact that Anthropic is a for-profit company change the

               11      analysis. See Mot. 15–16. “[M]any common fair uses are indisputably commercial” and the

               12      transformativeness of the use may outweigh its commercial character. Oracle, 593 U.S. at 32;

               13      Warhol, 598 U.S. at 531.4

               14             b. Factor Two and Three together support a fair use finding

               15             The second factor considers the nature of the copyrighted works and “typically has not

               16      been terribly significant in the overall fair use balancing[.]” McGucken v. Pub Ocean Ltd., 42

               17      F.4th 1149, 1161 (9th Cir. 2022) (internal quotation marks omitted); accord Authors Guild, 804

               18      F.3d at 220. It is similarly unilluminating here. Anthropic includes Plaintiffs’ works in the corpus

               19      to teach its AI models to recognize language patterns, not to appropriate the songs’ creative

               20
                       3
                         Plaintiffs cite to Warhol for this proposition, but they omit the preceding clause: “[T]he
               21      meaning of a secondary work . . . should be considered to the extent necessary to determine
                       whether the purpose of the use is distinct from the original, for instance, because the use
               22      comments on, criticizes, or provides otherwise unavailable information about the original.” 598
                       U.S. at 544–45 (emphasis added). Moreover, Plaintiffs fundamentally misunderstand that
               23      Warhol’s analysis was predicated on an admission that the new work was substantially similar to
                       the original, see 598 U.S. at 525, and limited to the use of that substantially similar work for
               24      “substantially the same purpose,” id. at 526. Plaintiffs would have to show that their lyrics were
                       created for the purpose of AI training, which they cannot do. Moreover, Warhol did nothing to
               25      alter the holdings of any of the “intermediate copying” decisions that are directly relevant here—
                       but that Plaintiffs do not address in their brief.
               26
                       4
                         Plaintiffs’ reliance on Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848 (9th Cir. 2017), and
               27      Associated Press v. Meltwater U.S. Holdings, Inc., 931 F. Supp. 2d 537, 554–55 (S.D.N.Y.
                       2013), is misplaced. Both involved technologies designed for the sole purpose of retransmitting
               28      “undiluted” copyrighted works in a different medium, see Associated Press, 931 F. Supp. 2d at
                       552, rather than using the works as raw material to build something new and distinct.
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                   1   elements. Courts have invariably found that the second factor does not weigh against fair use

                   2   under such circumstances. E.g., iParadigms, 562 F.3d at 641 (using student essays to build

                   3   plagiarism-detection software was “not related to the creative core of the works”); Bill Graham

                   4   Archives v. Dorling Kindersley, Ltd., 448 F.3d 605, 612–13 (2d Cir. 2006) (“[W]e hold that even

                   5   though [the] images are creative works, which are a core concern of copyright protection, the

                   6   second factor has limited weight in our analysis because the purpose of [the] use was to

                   7   emphasize the images’ historical rather than creative value.”); cf. Sega, 977 F.2d at 1526

                   8   (concluding second factor favored defendant where copying object code in video game cartridges

                   9   “was necessary in order to understand the functional requirements” for software compatibility).

               10              The third factor, which considers “the amount and substantiality of the portion used in

               11      relation to the copyrighted work as a whole,” favors fair use, too. 17 U.S.C. § 107(3). Plaintiffs

               12      emphasize that Anthropic’s “copying is ‘total’” because it “copies the complete Works as input.”

               13      Mot. 19. But that assertion is false. Plaintiffs’ claims relate to the alleged copying of their lyrics,

               14      not the “rhythm, harmony, and melody” that also comprise the asserted musical compositions.

               15      See Newton v. Diamond, 204 F. Supp. 2d 1244, 1249 (C.D. Cal. 2002). And the third fair use

               16      factor asks not how much copying was done in the abstract, but whether the secondary user

               17      “takes no more than is necessary” to accomplish that user’s intended purpose. Seltzer v. Green

               18      Day, Inc., 725 F.3d 1170, 1178 (9th Cir. 2013); accord Authors Guild, 804 F.3d at 221–22.

               19      Accordingly, “[e]ven entire verbatim reproductions are justifiable” when the allegedly infringing

               20      work serves a different purpose from the original. Tresóna Multimedia, LLC v. Burbank High

               21      Sch. Vocal Music Ass’n, 953 F.3d 638, 650 (9th Cir. 2020) (quotation omitted); see also Stern v.

               22      Does, 978 F. Supp. 2d 1031, 1047–48 (C.D. Cal. 2011) (finding copying of entire work fair

               23      where work was short and copying was reasonable in light of defendant’s legitimate purpose).

               24              Finally, to the extent Plaintiffs suggest Anthropic cannot show a “specific need for

               25      Publishers’ works or that alternatives were unavailable,” Mot. 20, that argument has been

               26      rejected in the only summary judgment decision concerning the application of fair use to

               27      generative AI technology. See Ross, 694 F. Supp. 3d at 485 (explaining that the defendant need

               28      not prove that use of each specific asserted work was “strictly necessary” for the scale of the

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                   1   copying to further its transformative goals). Plaintiffs’ own expert concedes the utility of song

                   2   lyrics for outputs “requiring the[ir] unique structure,” such as “musical compositions, poems,

                   3   short stories, marketing pitches,” and other forms of written work. Zhao Decl. ¶ 44. While

                   4   Plaintiffs’ lyrics in particular may not be “critical to the general functionality of Claude,” id.

                   5   ¶ 11, song lyrics as a category are an important piece of training data for teaching Claude about

                   6   the unique use of language in poetic and lyrical texts. See Kaplan Decl. ¶ 35.

                   7
                              c. Factor Four: Anthropic’s use of Plaintiffs’ lyrics to train Claude does not harm
                   8             any cognizable market

                   9          Finally, the fourth factor weighs in favor of fair use because any alleged use of the

               10      works-in-suit as part of Claude’s training dataset has no “substantially adverse impact” on a

               11      legitimate market for Plaintiffs’ copyrighted works. Campbell, 510 U.S. at 590. “[W]hen a

               12      commercial use . . . serves as a market replacement” for the original, it is “likely that cognizable

               13      market harm to the original will occur.” Id. at 591. Plaintiffs argue that “Anthropic’s unlicensed

               14      use [of their works to train Claude’s corpus] threatens to stifle the rapidly growing market for the

               15      Works as AI training input.” Mot. 22.5 They are wrong.

               16             There is no basis for the Court to find that a “rapidly growing market” for song lyrics as

               17      general-purpose AI training inputs exists, or is likely to be developed in the future. Seltzer, 725

               18      F.3d at 1179 (fourth factor considers the impact on “traditional, reasonable, or likely to be

               19      developed markets”). Plaintiffs provide no evidence of licenses they have issued to other LLM

               20      providers. In fact, they admit the opposite: that they “have not executed a copyright license

               21      agreement with any AI company that allows a licensee to train a general purpose Generative AI

               22      model” on the Asserted Works. Lovejoy Decl. Ex. B at 9 (RFA No. 15). Nor do Plaintiffs

               23      provide any evidence of a general purpose LLM like Claude that has licensed all the copyrighted

               24      material used to train its model. KL3M, the LLM to which Plaintiffs’ expert points, is a smaller,

               25      non-commercial LLM that is not designed to do anything close to what Claude or other general

               26
                       5
                         Plaintiffs also assert various market harms flowing from the availability of their lyrics in
               27      Claude outputs. See Mot. 21–22. Even if Plaintiffs’ assertions of harms relating to outputs were
                       not conclusory and speculative, see supra at 11–15, such harms would not show that Anthropic’s
               28      training is unfair. And any material hypothetical harms relating to Claude outputs have been
                       rendered moot by Anthropic’s updated guardrails. Mot. 29.
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                   1   purpose LLMs can do. See Kaplan Decl.¶ 26 (explaining that the KL3M models have been

                   2   trained on            % of the tokens used to train Claude 3.5 and support neither an API nor a

                   3   chat model). It is a fundamentally different product than Claude. Id.; Peterson Decl. ¶ 37.

                   4          The evidence favors Anthropic: Plaintiffs’ new expert Mr. Newton-Rex concedes that an

                   5   LLM “trained solely on licensed and public domain data may not match the performance” of an

                   6   LLM trained on data from the open internet. Decl. of Ed Newton-Rex (“Newton-Rex Decl.”),

                   7   Dkt. 183 ¶¶ 29, 35. As explained in the Peterson Declaration, the need for                     of

                   8   tokens of text to properly train general-purpose LLMs like Claude is incompatible with a

                   9   working licensing market of sufficient scale for training data. Peterson Decl. ¶¶ 22–25. This is an

               10      essential point: the licensing market Plaintiffs posit simply could not exist for all of the inputs

               11      required to train general purpose, generative AI models like Claude or its competitors.

               12             It does not matter, legally speaking, that Plaintiffs may wish to receive licensing revenue

               13      for this particular use of their works. See Am. Geophysical Union v. Texaco Inc., 60 F.3d 913,

               14      929–30 & n.17 (2d Cir. 1994).6 They point to unseen deals that other AI companies have done

               15      with other categories of copyright owners. See Smith Decl. ¶ 76–77 (referring to licenses

               16      ostensibly covering news, magazine, social media, images, and audio rights owners, none of

               17      which appear to involve lyrics). But the agreements themselves are not in the record, making it

               18      impossible to determine whether they in fact constitute bare licenses to train generative AI

               19      models, as opposed to any of innumerable other potential transactions between AI companies

               20      and content owners—e.g., to obtain access to additional training data that would not otherwise

               21      be accessible on the open web or additional rights requiring a license. See Peterson Decl. ¶¶ 39–

               22      44. Indeed, the majority of the deals that Plaintiffs highlight were inked by OpenAI, a company

               23      that has publicly staked out a position in favor of fair use, including in the many litigations it is

               24      facing against copyright owners. See id. ¶ 41. OpenAI’s fair use position casts doubt on

               25      Professor Smith’s assumption that these deals must be about licensing data for LLM training. Id.

               26
                       6
               27        Courts reject attempts to define the market so narrowly as to recognize a “theoretical market for
                       licensing the very use at bar” in order to show market harm. Tresóna, 953 F.3d at 652 (citation
               28      omitted); see also Swatch Grp. Mgmt. Servs., Ltd. v. Bloomberg L.P., 756 F.3d 73, 91 (2d Cir.
                       2014); Bell v. Eagle Mountain Saginaw Indep. Sch. Dist., 27 F.4th 313, 324–25 (5th Cir. 2022).
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                   1          Even if there were a handful of agreements along the lines Plaintiffs posit—though they

                   2   have not produced any—that would not change the calculus under fair use law, which requires a

                   3   bona fide market, not isolated deals entered for other reasons, including an abundance of caution

                   4   to eliminate risk. See Tresóna, 953 F.3d at 652 (holding “the decision by secondary users to pay,

                   5   or not pay” does not “establish whether” the fourth factor’s market analysis weighs in favor of

                   6   fair use, and “a copyright holder cannot prevent others from entering fair use markets merely by

                   7   developing or licensing a market for . . . transformative uses of its own creative work”) (cleaned

                   8   up); Cambridge Univ. Press v. Patton, 769 F.3d 1232, 1265 (11th Cir. 2014) (“[I]f the use is a

                   9   fair use, then the copyright owner is not entitled to charge for the use, and there is no ‘customary

               10      price’ to be paid in the first place.”). The main justifications that Plaintiffs’ expert, Mr. Newton-

               11      Rex, offers for licensing training data are more normative than rooted in economic analysis of

               12      the marketplace: for example, that it is “ethical” to do so, avoids “alien[ating]” large copyright

               13      holders who may be potential customers of AI products, and “may help AI companies attract and

               14      retain critical talent in a competitive market.” Newton-Rex Decl. ¶¶ 24–25, 27.

               15             Including the disputed works in Claude’s training dataset threatens no existing licensing

               16      market for the works in suit. See HathiTrust, 755 F.3d at 99; Campbell, 510 U.S. at 593 (the only

               17      harm to consider under the fourth factor “is the harm of market substitution”). It makes no sense

               18      to suggest that someone who might have paid licensing fees for the kinds of uses Plaintiffs

               19      legitimately exploit—displaying their song lyrics on third-party websites or as part of karaoke

               20      videos—will decline to do so because Anthropic used the songs to train a generative AI model.

               21      Peterson Decl. ¶ 49. Plaintiffs have produced not even a single example of such harm after nearly

               22      a year. Plaintiffs’ real complaint is that this use isn’t being licensed—but that is a feature of

               23      every single fair use case that courts decide. Recognizing that tension, courts will not “readily

               24      infer[]” market substitution or market harm “when . . . a use is plainly transformative.” Tresóna,

               25      953 F.3d at 651; see also Ross, 694 F. Supp. at 486 (explaining that if the use of the plaintiff’s

               26      works as training data is found to be transformative, “it is not a market substitute”).

               27             Because the challenged conduct is fair use, Plaintiffs cannot establish that they are likely

               28      to prevail on the merits of their training claim.

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                   1                  2.       Plaintiffs cannot show a likelihood of success on the merits with
                                              respect to their infringement claim concerning Claude’s outputs.
                   2

                   3          Plaintiffs are unlikely to succeed on the merits of their claim that Anthropic infringed
                   4   their copyrights through some Claude outputs that reproduced portions of their song lyrics. As
                   5   discussed above, Plaintiffs acknowledge that no further relief is required to address this alleged
                   6   harm, including because Anthropic has implemented guardrails designed to prevent Claude from
                   7   generating copies of Plaintiffs’ lyrics (which Plaintiffs have not even bothered to confirm are
                   8   effective). Mot. 29 (“Publishers are willing to take Anthropic at its word at this stage and seek
                   9   simply to maintain these already-implemented guardrails[.]”).
               10             Regardless, Plaintiffs are unlikely to successfully establish that Anthropic, as opposed to
               11      Plaintiffs themselves, engaged in the necessary volitional conduct to establish a claim of direct
               12      infringement—the sole basis for Plaintiffs’ preliminary injunction motion. See Mot. 8 n.4. To
               13      succeed on that claim, Plaintiffs must supply “proof of volitional conduct, the Copyright Act’s
               14      version of proximate cause.” Hunley v. Instagram, LLC, 73 F.4th 1060, 1074 (9th Cir. 2023).
               15      They cannot meet that burden. With respect to the copies Plaintiffs’ prompts yielded, the only
               16      evidence in the record is that Plaintiffs and their agents, not Anthropic, caused those copies.
               17      Plaintiffs entered the prompts that allegedly returned the outputs they complain about, which was
               18      shown to no one but themselves until they filed it on the public docket. See Dkt. 49 (Seymour
               19      Decl.) ¶ 6 (“On behalf of the Publishers, BCGuardian submitted requests to Claude’s API and
               20      Web Console and recorded evidence of Claude’s responses.”); see also Mot. 11 (admitting
               21      Plaintiffs’ agents “prompted” Claude “for the lyrics to each of the illustrative 500
               22      Compositions”); Lovejoy Decl. ¶ 11 & Ex. H at 7 (objecting to March 22, 2024 interrogatory
               23      requesting identity of “all Persons other than” Publishers who extracted the asserted works as
               24      Claude outputs). Copies generated by Plaintiffs and their agents, and distributed or displayed
               25      only to them, do not violate the Copyright Act at all. Richmond v. Weiner, 353 F.2d 41, 42 (9th
               26      Cir. 1965) (“[A] copyright owner cannot infringe against his own copyright.”). And save for the
               27      fine-tuning research example discussed above, Plaintiffs do not allege that anyone else ever
               28      prompted Claude to produce outputs that are substantially similar to the works-in-suit. Even that

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                   1   example from the pre-release development of Claude was not directed by Anthropic, which did

                   2   not dictate, screen, or review the prompts invented by third-party crowdworkers to test Claude’s

                   3   helpfulness. Kaplan Decl. ¶¶ 44–45; see supra at 7. Anthropic’s lack of volitional conduct

                   4   disposes of Plaintiffs’ direct infringement theory with respect to outputs.

                   5          C.      The balance of equities and public interest tip in Anthropic’s favor

                   6          The balance of equities and public interest factors also favor Anthropic, whose product

                   7   development and competitive standing would be dramatically disrupted, at potentially

                   8   catastrophic cost, by a preliminary injunction.

                   9          During the year-plus since Plaintiffs admit they discovered the alleged infringement,

               10      Anthropic has invested                         into building its business and developing its AI

               11      models. Kaplan Decl. ¶¶ 8, 27, 61. Indeed, courts have recognized a plaintiff’s delay “affects the

               12      equities” of a case. Lilith Games (Shanghai) Co. v. UCool, Inc., 2015 WL 5591612, at *12 (N.D.

               13      Cal. Sept. 23, 2015) (finding balance of equities tipped in favor of the defendant where it “made

               14      huge investments” during plaintiff’s four-month delay in bringing suit “that would likely be lost

               15      if the Court were to grant a preliminary injunction”). Plaintiffs claim that their requests are

               16      intended to “preserve the status quo” and “limit[] any conceivable harm to Anthropic” because

               17      they “do not ask Anthropic to retrain or withdraw its existing models, but only to refrain from

               18      training future models on [their] lyrics.” Mot. 28–29. But here, where Plaintiffs’ motion comes

               19      more than a year after they discovered the alleged infringement, granting the motion would not

               20      maintain the status quo, but rather “effect a material change in the marketplace.” Rivera v.

               21      Remington Designs, LLC, 2017 WL 3476996, at *4 (C.D. Cal. July 7, 2017).

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               26                       . Kaplan Decl. ¶ 61. And to what end?

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               28                   . See id. ¶ 60. Plaintiffs concede that they are working and have not even tested the

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                   1   models released since they filed suit. Mot. 29; Zhao Decl. ¶ 59. There is thus no real

                   2   countervailing equity in favor of Plaintiffs to balance here. See Winter, 555 U.S. at 27. Yet

                   3   Plaintiffs’ requested injunction could require Anthropic not only to

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                   5                                                                                                     .

                   6   Kaplan Decl. ¶ 58.

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                   8                                     should outweigh the lack of harm demonstrated by Plaintiffs.

                   9          In addition to the outsized harm to Anthropic, an injunction would also subvert the public

               10      interest by hampering access to this highly useful, general-purpose technology and conflict with

               11      copyright law’s goal of “stimulat[ing] creativity for public illumination.” Oracle, 593 U.S. at 29

               12      (quotations omitted); see also Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S.

               13      913, 960 (2005) (Breyer, J., concurring) (explaining that copyright law “leans in favor of

               14      protecting technology.”). Plaintiffs argue an injunction would serve the public interest in

               15      “protecting copyright owners’ marketable rights to their work” (Mot. 29), but any such interest is

               16      not implicated here because Anthropic’s use of the works-in-suit for training is fair, not

               17      infringing. See Campbell, 510 U.S. at 578 n.10; cf. 3M Unitek Corp. v. Ormco Co., 96 F. Supp.

               18      2d 1042, 1052 (C.D. Cal. 2000) (“If [protecting IP rights] were a sufficient public interest it

               19      would render the public interest element of the four part test superfluous, as it would always

               20      favor the plaintiff.”). Plaintiffs therefore have not met their “initial burden of showing that [an]

               21      injunction is in the public interest.” Stormans, Inc. v. Selecky, 586 F.3d 1109, 1139 (9th Cir.

               22      2009); see also In re Meta Pixel Healthcare Litig., 647 F. Supp. 3d 778, 805 (N.D. Cal. 2022)

               23      (finding “public consequences” outweighed imposing mandatory injunction “against a company

               24      that has already gone to some lengths to address” plaintiffs’ concerns).

               25      II.    Plaintiffs’ Requested Injunction Is Overbroad

               26             Plaintiffs’ requested relief is grossly overbroad, as it seeks to enjoin Anthropic not only

               27      with respect to the 500 copyrighted works asserted in the Complaint, but with respect to some

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                        1   millions of additional works that are not identified in the Complaint or Motion and that are

                        2   "constantly being updated." Mot. 2 & Dkt. 179-1 (proposed order); Lovejoy Deel. Ex. A at 4.
                        3          The law forbids Plaintiffs' ove1Teach. Lamb-Weston, Inc. v. McCain Foods, Ltd. , 941
                        4   F.2d 970, 974 (9th Cir. 1991) (injunctions "must be tailored to remedy the specific haim
                        5   alleged"). In the copyright context, this means that "the scope of the injunction should be

                        6   cote1minous with the [alleged] infringement." 5 Nimmer on Copyright § 14.06 (2023); see also
                        7   Mitchell v. 3PL Sys., Inc., 2013 WL 12129617, at *6 (C.D. Cal. Apr. 8, 2013) (enjoining

                        8   infringement of "any copyrighted work" in defendant's control was "well beyond the subject
                        9   matter of this litigation"). Plaintiffs have never alleged that Anthropic infringed their copyrights

                      10    in any work other than the 500 listed in Exhibit A of their Complaint-including, inter alia,
                      11    works that Plaintiffs tried unsuccessful~y to elicit from Claude and that Plaintiffs have so far
                      12    refused to provide any info1mation about. See Lovejoy Deel. Ex. B at 6 (admitting that "Claude

                      13    did not output all lyrics [Plaintiffs] requested in [their] investigation leading to this Lawsuit");
                      14    Kaplan Deel. ,r,r 52-54. Eight months after filing suit, Plaintiffs do not identify any other
                      15    registered works, let alone explain how they have been infringed or why a preliminaiy injunction
                      16    would be waiTanted. These defects ai·e fatal to Plaintiffs' request for sweeping injunctive relief.
                      17    See, e.g. , Religious Tech. Ctr. v. Netcom On-Line Commc 'n Servs., Inc., 923 F. Supp. 1231, 1258

                      18    (N.D. Cal. 1995) (denying injunction as to works "beyond those listed in [e]xhibits" to the
                      19    complaint); Strike 3 Holdings, LLC v. Andaya, 2021 WL 5123643, at *7 (N.D. Cal. Nov. 4,
                      20    2021) (denying injunction "concerning rights that have not been cleai·ly identified in this
                      21    litigation or works ... for which infringement has not been established").

                      22                                              CONCLUSION

                      23           None of the four preliminaiy injunction factors weighs in favor of awai·ding extraordinaiy
                      24    equitable relief. The Comi should deny Publishers' meritless and overbroad Motion.7

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                      27                                                                                           "    cl. I
                              • -      I       ••           I  I                                   I                    dels
                      28    yet to be developed, a bond should be set to compensate Anthropic for the significant costs
                            Anthropic would incur. Kaplan Deel. ,r,r 63- 65.
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                   1   Dated: August 22, 2024            Respectfully submitted,
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